Case 1:25-cv-00872-JMC   Document 22-16   Filed 06/11/25   Page 1 of 17
Case 1:25-cv-00872-JMC   Document 22-16   Filed 06/11/25   Page 2 of 17
Case 1:25-cv-00872-JMC   Document 22-16   Filed 06/11/25   Page 3 of 17
Case 1:25-cv-00872-JMC   Document 22-16   Filed 06/11/25   Page 4 of 17
Case 1:25-cv-00872-JMC   Document 22-16   Filed 06/11/25   Page 5 of 17
    Case 1:25-cv-00872-JMC         Document 22-16       Filed 06/11/25     Page 6 of 17




                      EXHIBIT A




Coalition for Humane Immigrant Rights, et al. v. Noem et al., 1:25-cv-00872 (JMC)
Case 1:25-cv-00872-JMC   Document 22-16   Filed 06/11/25   Page 7 of 17
Case 1:25-cv-00872-JMC   Document 22-16   Filed 06/11/25   Page 8 of 17
Case 1:25-cv-00872-JMC   Document 22-16   Filed 06/11/25   Page 9 of 17
Case 1:25-cv-00872-JMC   Document 22-16   Filed 06/11/25   Page 10 of 17
    Case 1:25-cv-00872-JMC        Document 22-16        Filed 06/11/25    Page 11 of 17




                      EXHIBIT B




Coalition for Humane Immigrant Rights, et al. v. Noem et al., 1:25-cv-00872 (JMC)
Case 1:25-cv-00872-JMC   Document 22-16   Filed 06/11/25   Page 12 of 17
Case 1:25-cv-00872-JMC   Document 22-16   Filed 06/11/25   Page 13 of 17
Case 1:25-cv-00872-JMC   Document 22-16   Filed 06/11/25   Page 14 of 17
    Case 1:25-cv-00872-JMC        Document 22-16        Filed 06/11/25    Page 15 of 17




                     EXHIBIT C




Coalition for Humane Immigrant Rights, et al. v. Noem et al., 1:25-cv-00872 (JMC)
Case 1:25-cv-00872-JMC   Document 22-16   Filed 06/11/25   Page 16 of 17
Case 1:25-cv-00872-JMC   Document 22-16   Filed 06/11/25   Page 17 of 17
